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Attorneys for the United States of America

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                          IN THE UNITED STATES DISTRICT COURT

                    DISTRICT OF UTAH, CENTRAL DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,
                                                  UNITED STATES’ MOTION IN
             Plaintiff,                           LIMINE REGARDING
      vs.                                         DEFENDANT’S EXPERTS
                                                  ROBERT “JAKE” JACOBSEN
UNION PACIFIC RAILROAD COMPANY,                   AND HANS IWAND

             Defendant.

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UNION PACIFIC RAILROAD COMPANY,                   Civil No. 2:05CV00545 TC

             Third-Party Plaintiff
                                                  Magistrate Judge Brooke C. Wells
      vs.

PANDROL JACKSON and HARSCO COMPANY

             Third-Party Defendants


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        Pursuant to the Trial Order (Docket # 87), entered January 31, 2008, all motions in limine

are due 5 days prior to trial. That deadline is today under Fed. R. Civ. P. 6, as trial is set to start

on Tuesday, February 19, 2008, following the Monday holiday for Presidents’ Day.

        Accordingly, under Fed. R. Civ. P. 37(c)(1), the United States moves to limit the

evidence of Defendant Union Pacific Railroad Company’s expert Robert “Jake” Jacobsen, for the

following reasons:

        1.      Mr. Jacobsen was deposed on January 31, 2008.

        2.      Mr. Jacobsen and UPRR then represented for the first time that Mr. Jacobsen had

                taken 100 or so photographs of the fire scene to support his opinion about the fire

                cause and origin.

        3.      Mr. Jacobsen and UPRR also then represented that those photographs were no

                longer available, and that Mr. Jacobsen was going to return to the scene

                subsequent to the deposition to take more photographs.

        4.      The United States subsequently has requested from UPRR when Mr. Jacobsen

                would be available for deposition with those new photographs, but there has been

                no response.

        5.      Pursuant to the Scheduling Conference Order, as amended, Mr. Jacobsen’s expert

                disclosure report under Fed. R. Civ. P. 26(a)(2) was due July 6, 2007. It was then

                delivered, but it did not include the “missing photographs,” nor, obviously, could

                it have included any photographs Mr. Jacobsen may have taken after his

                deposition on January 31, 2008.

        The United States requests, therefore, the Court enter a motion in limine prohibiting the


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introduction of any photographs on which Mr. Jacobsen relies that were not tendered at his

deposition, and any testimony by Mr. Jacobsen in support of his opinion that is based upon

information he learned subsequent to his deposition that was not disclosed to the United States.

       Similarly, and also under Fed. R. Civ. P. 37(c)(1), the United States moves to exclude any

evidence or testimony from a newly-mentioned supposed expert on metallurgy named Hans

Iwand, for the following reasons:

       1. Today at 1:46 p.m., defendant emailed a report by Mr. Iwand, expecting the United

States to take Mr. Iwand’s deposition in less than 24 hours.

       2. Mr. Iwand has never been formally designated by UPRR as an expert it would offer.

His name was only informally mentioned by UPRR’s counsel at some recent depositions in

January, 2008.

       Respectfully submitted,

                                      BRETT L. TOLMAN
                                      United States Attorney

                                      /s/ Eric A. Overby
                                      ERIC A. OVERBY
                                      STEPHEN J. SORENSON
                                      Assistant United States Attorneys




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                              CERTIFICATE OF SERVICE

The foregoing document was served by ECF to the following on the 11th day of February, 2008:


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